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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

    IN RE:
                                                                  CASE NO. 09-10762 (MFW)
             ROADMASTER LLC
                                                                  CHAPTER 7

                                Debtor(s)
                                                                  Related Docket No. _______


                       ORDER APPROVING CHAPTER 7 TRUSTEE’S
                  MOTION TO DEPOSIT UNCLAIMED FUNDS PURSUANT TO
                    FED. R. BANKR. P. 3011 AND DEL. BANKR. L.R. 3011-1

           Upon consideration of the Motion of Chapter 7 Trustee to Deposit Unclaimed Funds into

the Registry of the Court (the “Motion”) 1, and the Court being satisfied that the relief requested

in the Motion appearing to be in the best interests of the Bankruptcy Estate; sufficient notice of

the Motion and opportunity for a hearing having been given; it is hereby:

           ORDERED, that the Motion is GRANTED; and it is

           FURTHER ORDERED that the Trustee is authorized to deposit the Unclaimed Funds

identified in the Motion in the amount of $52,406.62 into the Registry of the Court.




1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
